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      12

      13                                 UNITED STATES DISTRICT COURT

      14                               NORTHERN DISTRICT OF CALIFORNIA

      15                                     SAN FRANCISCO DIVISION

      16

      17     ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC

      18                      Plaintiff and                 DEFENDANTS’ NOTICE OF MOTION AND
                              Counter-defendant,            MOTION FOR SUMMARY JUDGMENT
      19
                    v.                                      Date:        May 5, 2022
      20                                                    Time:        1:30 pm
             COOLIT SYSTEMS, INC.,                          Location:    COURTROOM 5, 17TH FLOOR
      21                                                    JUDGE:       HON. EDWARD M. CHEN
                              Defendant and
      22                      Counter-claimant,

      23     CORSAIR GAMING, INC. and CORSAIR
             MEMORY, INC.,
      24
                               Defendants.
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        1    I.      INTRODUCTION

        2            PLEASE TAKE NOTICE that on May 5, 2022 at 1:30 p.m., or as soon thereafter as the matter

        3    may be heard, in this Court, Defendant CoolIT Systems, Inc. (“CoolIT”) will and hereby does move

        4    for summary judgment as set forth below. This motion is based upon this notice of motion and motion,

        5    which includes the following memorandum of points and authorities, the accompanying Declaration

        6    of Reuben H. Chen (“Chen Decl.”) and exhibits thereto, and upon such other and further matters,

        7    papers, and arguments as may be submitted to the Court at or before the hearing on this motion.

        8            A.     Summary judgment of non-infringement under Asetek’s claims
        9            Of the seven patents Asetek Danmark A/S (“Asetek”) has asserted against CoolIT, only one—

       10    U.S. Patent No. 8,240,362 (the “’362 patent”)—remains and is not subject to stay. The ’362 patent

       11    requires “an impeller having a plurality of curved blades” and a single-receptacle “reservoir” with

       12    upper and lower chambers contained within it. But CoolIT’s straight impeller blades are admittedly

       13    “not curved,” and the Tamriel design indisputably has two separable receptacles rather than a “single

       14    receptacle.” Straight cannot be equivalent to curved, and two receptacles cannot be equivalent to one.

       15    CoolIT’s products, therefore, do not infringe the ’362 patent as a matter of law.

       16            B.     Summary judgment of validity over Antarctica under CoolIT’s claims
       17            That leaves CoolIT’s patent infringement claims against Asetek. Asetek asserts that an alleged

       18    Antarctica sample has “microchannels” with widths up to one millimeter, as required by the asserted

       19    claims of CoolIT’s U.S. Patent Nos. 8,746,330 (the ’330 patent), 9,603,284 (the ’284 patent), and

       20    10,274,266 (the ’266 patent). But Asetek offers only uncorroborated ipse dixit testimony on that point,

       21    when the only available empirical evidence shows otherwise. Asetek also fails to show the Antarctica

       22    sample is prior art, and representative of a product sold before August 9, 2007. CoolIT is therefore

       23    entitled to summary judgment against Asetek’s Antarctica-based invalidity defense.

       24    II.     FACTUAL BACKGROUND
       25            A.     Asetek’s claims
       26                   1.      Asetek’s prior lawsuits
       27            Asetek first asserted the ’362 patent against CoolIT in 2012-2015. That case ended with a

       28    confidential settlement. Towards the end of the case, CoolIT designed a new impeller with straight
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        1    blades and informed Asetek of the new design. (Chen Decl., Ex.1 1 (email to Asetek including new

        2    design).) Nearly four years then passed before Asetek brought its current suit against CoolIT.

        3    Acknowledging the lack of “curved blades,” Asetek’s theory is limited to infringement under the

        4    doctrine-of-equivalents. But straight is not and cannot be equivalent to its opposite “curved.”

        5           Asetek also previously filed suit against CMI USA, Inc. and Cooler Master Co., Ltd. That

        6    case resulted in a jury verdict in Asetek’s favor. Critically, in order to overcome invalidity arguments,

        7    Asetek argued and the jury found that the prior art identified in that case did not have Asetek’s claimed

        8    “reservoir” / “single receptacle” limitation.2 CoolIT’s Tamriel design deliberately practices that prior

        9    art, in which two separable receptacles are connected together via a gasket. Here, too, Asetek’s

       10    strained theory that two separable receptacles are equivalent to one single receptacle cannot stand.

       11                   2.      The disputed “curved blades” and “single receptacle” limitations were
                                    critical to patentability
       12

       13           The ’362 patent lays claim to a liquid cooling system with “curved” impeller blades and a

       14    single-receptacle “reservoir” divided into two compartments that circulates cooling liquid to keep

       15    computer chips from overheating. (See ’362 patent (ECF No. 1-1), claims 17, 19 (the last remaining

       16    asserted claims).) Asetek had to include each of these limitations (among others) to avoid prior art in

       17    a very crowded field. (See, e.g., Ex. 2, U.S. Patent No. 7,971,632 file history, December 18, 2008

       18    Amendment (adding “curved blades”)); see also Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352,

       19    1357-58 (Fed. Cir. 2017) (“the jury found that the claimed liquid-cooling systems differ from the prior

       20    art … because the ‘reservoir’ is a ‘single receptacle that is divided into an upper chamber and a lower

       21    chamber’”) (emphasis added). Independent claim 17 includes the following limitations relevant to

       22    this motion (with underling added):

       23           17. A method of operating a liquid cooling system for an electronic component
                    positioned on a motherboard of a computer system, comprising:
       24

       25           separably thermally coupling a heat exchanging interface of a reservoir with the
                    electronic component positioned at a first location on the motherboard, the reservoir
       26           including an upper chamber and a lower chamber, the upper chamber and the lower

       27    1
              All references to “Ex.” refer to exhibits to the Chen Decl.
             2
              CoolIT’s current counsel was not involved in the prior trial of that case. After the jury verdict in that
       28    case, CoolIT’s current counsel was hired to represent CMI USA and Cooler Master Co., Ltd.
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        1           chamber being separate chambers that are vertically spaced apart and separated by
                    at least a horizontal wall, the upper chamber and the lower chamber being fluidly
        2           coupled by one or more passageways, at least one of the one or more passageways
        3           being positioned on the horizontal wall, the heat exchanging interface being
                    removably coupled to the reservoir such that an inside surface of the heat
        4           exchanging interface is exposed to the lower chamber of the reservoir; …

        5           activating a pump to a circulate a cooling liquid through the reservoir and the heat
                    radiator, the pump including a motor and an impeller having curved blades, the
        6           impeller being positioned in the reservoir; and … .3
        7           B.      The ’362 patent requires “curved blades,” but CoolIT’s products have straight
                            blades
        8

        9           The only embodiment in the ’362 patent showing an
       10    impeller with blades is FIG. 15. (Ex. 3 (12/8/2021 Dr. Abraham
       11    report), at ¶ 105 (annotated excerpt of FIG. 15 (rotated 90º CW)),
       12    reproduced at right.) The specification describes impeller 33 as
       13    follows: “The impeller 33 of the pump has a shape and a design
       14    intended only for one way rotation, in the embodiment shown a
       15    clockwise rotation only.” (’362 patent (ECF No. 1-1), at 18:8-11.)
       16           The file history of the ’362 patent and the lengthy file
       17    history of its parent application (with 7 office action rejections
       18    over 5 years) bear emphasizing because they show that the claims
       19    of the ’362 patent were issued on very narrow grounds over prior
       20    art. In particular, during prosecution of the parent application,
       21    Asetek amended its claims to include “an impeller having a
       22    plurality of curved blades,” and argued that the impellers in prior art references, such as Batchelder,
       23    Chu, and Alvaro, did “not disclose that “the impeller [has] a plurality of curved blades.” (Ex. 2
       24    (12/18/2008 Reply to Office Action), at 4, 15-17.4)
       25
             3
               Dependent claim 19 does not add any limitations relevant to this motion.
       26    4
               The Examiner subsequently found that another reference, Chou, disclosed the limitation of an
             “impeller having a plurality of curved blades.” (Ex. 4 (3/20/2009 Office Action, Final Rejection), at
       27    4.) Asetek then amended its claims to recite a “reservoir comprising an upper chamber and a lower
             chamber, the upper chamber and the lower chamber being separate chambers that are fluidly coupled
       28    together by an inlet passage and an outlet passage.” (Ex. 5 (4/4/2011 Reply to Office Action), at 4.)
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        1             In the accused CoolIT products (including both H100i and

        2    Tamriel), the impeller does not have “curved blades.” Rather, it has

        3    straight blades (as shown on the right). (Ex. 7 (11/3/2021 Tuckerman

        4    Infringement Rep.), at ¶ 69 (excerpt).) Asetek’s expert concedes that

        5    the blades in CoolIT’s impeller are not curved. (See id., at ¶¶ 290,

        6    321 (admitting that “the blades in the impeller of the H100i Liquid

        7    Cooler [and Tamriel design] are not literally curved”).)

        8             C.     The ’362 patent requires a “single receptacle,” but CoolIT’s Tamriel design has
                             two separable receptacles
        9

       10             The ’362 patent also claims a “reservoir” construed as a “single receptacle defining a fluid

       11    flow path” and “chamber(s)” construed as “compartment(s) within the reservoir” based on the parties’

       12    stipulation and the Court’s order. (ECF Nos. 67 (at 2-3 of 51), 104 (at 9 of 20), 237 (at 3 of 35), 258

       13    (7/8/2021 Claim Construction

       14    Order, at 5 of 16).5) Notably,

       15    during    prosecution    of   the

       16    parent application (with the

       17    same     written    description),

       18    Asetek amended its claims to

       19    recite a reservoir with an upper

       20    and a lower chamber and

       21    annotated FIG. 15 to show the

       22    upper and the lower chambers

       23    are compartments contained within the same “reservoir 14” as support for these features. (Ex. 5

       24    (4/4/2011 Reply to Office Action), at 4, 6, 13-14.)

       25             The parties stipulated, based on the prior jury verdict, that the “single receptacle … is divided

       26    Notably, the claims were allowed not because the Examiner-identified prior art lacked a “reservoir,”
             but because it did “not disclose any inlet and outlet passage to connect the upper and the lower
       27    chamber.” (Ex. 6 (4/8/2011 Notice of Allowance), at 2.)
             5
               The “reservoir” and “chamber” limitations appear in all the remaining asserted claims, including the
       28    Asetek patents that are stayed.
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        1    into an upper chamber and a lower chamber, with the upper chamber providing the pumping function

        2    and the lower chamber providing the thermal exchange function.” (ECF No. 342 at 2 of 48.) That is,

        3    within its “interior space,” the “single receptacle” is divided into an upper “compartment” for pumping

        4    and a lower “compartment” for thermal exchange. (See, e.g., Ex. 8 (12/8/2021 Tuckerman Invalidity

        5    Rep.), at ¶¶ 90-91.)

        6           By contrast, CoolIT’s Tamriel design does not possess a “single receptacle” divided into an

        7    upper pump chamber and a

        8    lower thermal exchange

        9    chamber. Rather, Tamriel

       10    employs two separable

       11    receptacles connected by

       12    way of tubing (a gasket), as

       13    depicted at right. (ECF

       14    No. 342 at 17 of 48.)

       15           D.      CoolIT’s claims
       16                   1.       CoolIT’s asserted claims all require “microchannels”
       17           Eleven claims across CoolIT’s ’330, ’284, and ’266 patents remain. Each asserted claim recites

       18    or depends on an independent claim that recites a “plurality of [fins/walls]” defining a “corresponding

       19    plurality of microchannels.” (See ’330 patent (ECF No. 23-1), cls. 1, 12, 14; ’284 patent (ECF No.

       20    23-2), cls. 1, 15; ’266 patent (ECF No. 27-4), cl. 13.) In their November 8, 2019 Joint Claim

       21    Construction and Pre-Hearing Statement, the parties stipulated that “microchannels” are “channels

       22    with widths up to 1 millimeter.” (See ECF No. 67 at 3 of 51.)

       23                   2.       Asetek’s Antarctica sample lacks “microchannels”
       24           Asetek identified its own “Antarctica ‘Water Chill’ Liquid Cooling Kit” (“Antarctica”) as prior

       25    art to the asserted CoolIT patents in its initial invalidity contentions. In his opening report challenging

       26    validity of the asserted CoolIT patents, Dr. Tuckerman opines that the asserted claims for the ’330,

       27    ’284, and ’266 patents are invalid over a physical sample of Asetek’s Antarctica device, alone or in

       28    combination with other references. (See Ex. 9 (11/3/2021 Tuckerman Rep.), at ¶¶ 7, 65-77, 114, 135-
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        1    137.) This Antarctica sample includes a heat spreader plate with channels between adjacent fins that

        2    Dr. Tuckerman relies on as disclosing the “microchannels” limitation. (See id., Ex. 9-A (Chart I) at

        3    2-3, 11, 17; id. (Chart II), at 5-8, 26-28, 42-44; Ex. 9-B (Chart I), at 1, 10; Ex. 9-C (Chart I) at 1.) Dr.

        4    Tuckerman opined that “[t]he space between adjacent fins is about 0.9 – 1.0 mm” in Antarctica’s heat

        5    spreader plate but did not disclose any supporting empirical evidence. (See Ex. 9 (11/3/2021

        6    Tuckerman Invalidity Rep.), at ¶ 57.) Rather, he cited to deposition testimony from Asetek’s CEO,

        7    Andre Eriksen, who claimed without any corroboration that Antarctica had channel widths “between

        8    0.6 and 0.8 millimeters.” (Ex. 10 (8/24/2021 Eriksen Depo. Tr.), at 117:23-24.) In stark contrast,

        9    CoolIT’s technical expert Dr. Himanshu Pokharna measured each channel width in Antarctica’s heat

       10    spreader plate, and demonstrated that the channel widths ranged from 1.18 mm to 1.25 mm. (Ex. 11

       11    (12/8/2021 Pokharna Rebuttal Rep.), at ¶ 74.) These empirical measurements are not subject to

       12    reasonable dispute. Each Antarctica channel width thus exceeds the 1.0 mm required under the

       13    parties’ stipulated construction for “microchannel.”

       14                     3.      The Antarctica sample does not qualify as prior art
       15              Asetek alleges Antarctica is prior art by providing 2004 sales data. (See generally Ex. 12; see

       16    also id. at 6, 8) (noting no intent to rely on public use or offers for sale.) Dr. Tuckerman similarly

       17    qualifies Antarctica as prior art based on that sales data. (Ex. 9 (11/3/2021 Tuckerman Invalidity

       18    Rep.), at ¶54.) However, Dr. Tuckerman and Asetek did not provide any evidence linking the

       19    Antarctica physical sample to a version of the Antarctica device reported as sold in that data. To the

       20    contrary, Dr. Tuckerman admitted that he could not be sure that the sample was representative of the

       21    actual device and that he “would have no way of knowing” if the actual Antarctica product previously

       22    sold had channels one millimeter or less. (Ex. 24, (12/20/2021 Tuckerman Depo. Tr.), at 141:16-

       23    142:8.)

       24    III.      LEGAL STANDARD
       25              A.     Summary judgment of noninfringement
       26              “The [all-limitations] rule holds that an accused product or process is not infringing unless it

       27    contains each limitation of the claim, either literally or by an equivalent.” Freedman Seating Co. v.

       28    Am. Seating Co., 420 F.3d 1350, 1358 (Fed. Cir. 2005) (internal citation omitted). Compliance with
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        1    the all-limitations rule is “a question of law.” Trading Techs. Int’l, Inc. v. eSpeed, Inc., 595 F.3d 1340,

        2    1355 (Fed. Cir. 2010). Further, “the doctrine of equivalents is not a license to ignore or erase structure

        3    and functional limitations of the claim, limitations on which the public is entitled to rely in avoiding

        4    infringement.” Athletic Alts., Inc. v. Prince Mfg., Inc., 73 F.3d 1573, 1582 (Fed. Cir. 1996) (internal

        5    citation omitted); see also London v. Carson Pirire Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991)

        6    (“Application of the doctrine of equivalents is the exception, however, not the rule, for if the public

        7    comes to believe (or fear) that the language of patent claims can never be relied on, and that the

        8    doctrine of equivalents is simply the second prong of every infringement charge, regularly available

        9    to extend protection beyond the scope of the claims, then claims will cease to serve their intended

       10    purpose. Competitors will never know whether their actions infringe a granted patent.”)

       11           “Whether an element of the accused device is equivalent to a claim limitation depends on

       12    ‘whether the substitute element matches the function, way and result of the claimed element or whether

       13    the substitute element plays a role substantially different from the claimed element. If a theory of

       14    equivalence would vitiate a claim limitation, [] then there can be no infringement under the doctrine

       15    of equivalents as a matter of law.” Tronzo v. Biomet, Inc., 156 F.3d 1154, 1160 (Fed. Cir. 1998) That

       16    is, a doctrine of equivalents argument “fails if it renders a claim limitation inconsequential or

       17    ineffective.” Akzo Nobel Coatings, Inc. v. DowChem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2016).

       18           If there is no vitiation of claim limitations, the issue of equivalency becomes a question of fact

       19    that depends on whether the patentee can “establish equivalency on a limitation-by-limitation basis by

       20    particularized testimony and linking argument as to the insubstantiality of the differences between the

       21    claimed invention and the accused device or process.” Akzo, 811 F.3d at 1342; accord Festo Corp. v.

       22    Shoketsu Kinzoku Kogyo Kabushiki Co., Ltd., 172 F.3d 1361, 1391 (Fed. Cir. 1999), reh’g en banc

       23    granted, judgment vacated for rehearing, 187 F.3d 1381 (Fed. Cir. 1999), judgment vacated and

       24    remanded, 535 U.S. 722 (2002). Because the plaintiff bears the burden of demonstrating the existence

       25    of each limitation in the accused product, if there is a lack of evidence to show an accused product

       26    contains all of the limitations of the patent claims, the defendant is entitled to summary judgment.

       27    Celotex Corp. v. Catrett, 477 U.S. 317 (1986); Novartis Corp. v. Ben Venue Labs, Inc., 271 F.3d 1043,

       28    1046 (Fed. Cir. 2001) (“Summary judgment must be granted against a party who has failed to introduce
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        1    evidence sufficient to establish the existence of an essential element of that party’s case, on which the

        2    party will bear the burden of proof at trial.”); accord Flexuspine, Inc. v. Globus Med., Inc., 879 F.3d

        3    1369, 1377 (Fed. Cir. 2018).

        4             B.     Summary judgment of validity
        5             A patent is presumed valid. 35 U.S.C. § 282. A party seeking to invalidate an issued patent

        6    must prove invalidity by clear and convincing evidence, including qualifying asserted references as

        7    prior art under 35 U.S.C. § 102. E.g., Sandt Tech., Ltd. v. Resco Metal and Plastics Corp., 264 F.3d

        8    1344, 1350 (Fed. Cir. 2001). Summary judgment affirming the validity of an asserted claim is proper

        9    where the non-moving party cannot meet its burden of showing invalidity. Cent. Admixture Pharmacy

       10    Servs., Inc. v. Advanced Cardiac Sols., P.C., 482 F.3d 1347, 1357-58 (Fed. Cir. 2007) (affirming

       11    summary judgment of no invalidity because no reasonable jury could find invalidity by clear and

       12    convincing evidence based on the “sketchy record”).

       13    IV.      ARGUMENT
       14             A.     Summary judgment of noninfringement under Asetek’s claims
       15                    1.     CoolIT does not infringe the “curved blades” limitation of the ’362 patent
       16                           a.      Asetek’s doctrine of equivalents theory vitiates the “curved”
                                            limitation and violates the all-limitations rule
       17

       18             The claim language indisputably requires “an impeller having curved blades.” (Ex. 14

       19    (12/30/2021 Tuckerman Depo. Tr.), at 58:19-25) (admitting that “[t]he claim language requires that

       20    the blades of the impellers have to be curved” and that “the adjective ‘curved’ modifies the noun

       21    ‘blades’”). “Curved” describes the shape of the blades, as recognized by Asetek’s own expert Dr.

       22    Tuckerman, who admitted that the word “curve ... would describe shapes that have curvature

       23    somewhere on them.” (Id. at 263:8-14.) When asked specifically for his definition of “curved blades,”

       24    Dr. Tuckerman responded as follows:

       25             Q.     What is your definition of curved blades?

       26             A.     A – okay. A definition of curved blade. A blade that has an – an arc to it. It’s
                             not – it’s not everywhere linear.
       27

       28
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        1    (Id. at 53:5-8) (emphasis added).6

        2           CoolIT’s blades do not meet Dr. Tuckerman’s own

        3    definition and are undisputedly not “curved.”          (Ex. 7

        4    (11/03/2021 Tuckerman Infringement Rep.), at ¶¶ 290, 321)

        5    (admitting that “the blades in the impeller of the H100i

        6    Liquid Cooler [and Tamriel design] are not literally

        7    curved”). This should end the inquiry, as “curved blades”

        8    are a structural limitation and attempting to map “curved

        9    blades” onto CoolIT’s admittedly non-curved blades

       10    violates the all-limitations rule. See, e.g., Athletic Alts., 73 F.3d 1582-83 (“the doctrine of equivalents

       11    is not a license to ignore or erase structure and functional limitations of the claim, limitations on which

       12    the public is entitled to rely in avoiding infringement”; Sage Prods. Inc. v. Devon Indus. Inc., 126 F.3d

       13    1420, 1425 (Fed. Cir. 1997) (affirming summary judgment of no infringement and noting that, if the

       14    plaintiff desired broad patent protection, “it could have sought claims with fewer structural

       15    encumbrances”); Tronzo, 156 F.3d at 1160 (infringement by “a hemispherical cup” under the doctrine

       16    of equivalents “would vitiate the limitation requiring that the cup have a ‘generally conical

       17    outer surface.’”)

       18           Nevertheless, Asetek ignores the claim language expressly requiring “an impeller having

       19    curved blades” and, in an attempt to show equivalency, proposes a hypothetical construction of

       20    “curved blades” to be equivalent to what it calls “non-radial blades.” (Ex. 7 (11/3/2021 Tuckerman

       21    Infringement Rep.), at ¶ 292) (“in a hypothetical claim covering the equivalents of an ‘impeller having

       22    curved blades,’ this claim term would be written as an ‘impeller having non-radial blades,’ or an

       23    ‘impeller having curved blades or other non-radial blades that perform like curved blades’”). This

       24    hypothetical construction—which finds no support in the intrinsic record—violates the all-limitations

       25    rule by rendering inconsequential the claim requirement that the impeller blades be “curved.” See,

       26    e.g., Akzo, 811 F.3d at 1342 (an argument under the doctrine of equivalents “fails if it renders a claim

       27
             6
               Further, Dr. Tuckerman distinguished “curved blades” from “straight blades” emphasizing that
       28    “‘curved’ and ‘straight’ certainly mean different things, for -- for sure.” Id. at 52:22-53:3.
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        1    limitation inconsequential or ineffective”). Indeed, Dr. Tuckerman conceded that the terms “curved

        2    blades” and “non-radial blades” do not have the same scope:

        3           Q.      So the terms “curved blades” and “nonradial blades” do not have the same
                            scope, correct?
        4

        5           A.      A curve, to me, implies that there is, you know, some nonlinearity to the shape
                            of the blade so that it, you know, has an arc to it. So they’re not identical terms,
        6                   no.
        7    (Ex. 14 (12/30/2021 Tuckerman Depo. Tr.), at 56:21-57:4) (emphasis added; objection omitted). Dr.

        8    Tuckerman further stated that curved blades are “a subset of the class of nonradial blades.” (Id. at

        9    56:14-20 (emphasis added).) Without agreeing to this interpretation, but accepting Dr. Tuckerman’s

       10    opinion for purposes of this motion, even his testimony confirms that “curved blades” and “non-radial

       11    blades” do not have equivalent scope.

       12           Asetek’s attempt to rewrite “curved blades” to cover CoolIT’s “non-radial blades,” even

       13    though they have no “curvature” or “arc,” is nonsensical. Had Asetek intended to cover all non-radial

       14    blades, it should have drafted its claims to recite “non-radial blades” rather than “curved blades.”

       15    Without any supporting evidence, Asetek argues that “straight impellers are generally radial,” but even

       16    assuming that is true (which it is not), it does not follow that “non-radial” blades suddenly become

       17    “curved blades.” (Ex. 7 (11/3/2021 Tuckerman Infringement Rep.), at ¶ 292.) This is because,

       18    according to Asetek’s expert, the difference between radial and non-radial blades hinges on whether

       19    “the impeller blades are perpendicular to the axis of rotation,” without any requirement the blades have

       20    any “curvature” or “arc.”

       21    (See id.; see also (Ex. 15

       22    (11/3/2021 Stein Rep.), at ¶

       23    13 (providing a comparison

       24    (excerpt reproduced on the

       25    right) between non-radial

       26    and radial blades).)
                                                   Non-radial blades (grey)                 Radial blades (blue)
                    That     is,    Asetek       according to Asetek’s expert           according to Asetek’s expert
       27

       28    impermissibly reads out its own “curved” requirement of the claims by rewriting the limitation with a
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        1    different criterion for infringement / non-infringement – “non-radial” / “radial” – that has absolutely

        2    nothing to do with “curvature.” Because Asetek’s equivalency argument reads out the structural

        3    requirement of “curved blades,” for this reason alone, the Court should grant summary judgment of

        4    non-infringement as a matter of law on claims 17 and 19 of the ’362 patent. See Network Appliance,

        5    Inc. v. Bluearc. Corp., No. C 03–5665 MHP, 2005 WL 1530222, at *3, 9-10 (N.D. Cal. June 27, 2005)

        6    (“[H]aving patented an invention that includes such structural limitations, plaintiff cannot rely on the

        7    ‘functional interchangeability’ of substantially different structures in order to sweep any computer

        8    architecture that is functionally equivalent to the invention into the scope of the patent’s claims.”)

        9                           b.      Asetek provides no evidence to show CoolIT’s straight blades drive
                                            liquid in substantially the same “way” as do the curved blades
       10

       11           Asetek’s argument also fails at least the “way” test in the function-way-result analysis under

       12    the doctrine of equivalents. This is because, even assuming “curved” and “straight” blades perform

       13    substantially the same function of driving cooling liquid, Asetek provides zero evidence that they do

       14    so in substantially the same way. In fact, the only available evidence in the record shows the opposite

       15    – that curved blades and straight blades drive liquid in different ways. As shown below right, this is

       16    at least because liquid, if driven along curved blades (blue) between two points, undisputedly travels

       17    a longer distance than if driven along straight blades (red). (Ex.

       18    3 (12/8/2021 Abraham Non-Infringement Rep.), at ¶ 104) (“the

       19    straight line is the shortest distance between the two points,

       20    while a curved line is not. This is as common sense as it can

       21    be”). Dr. Stein, agrees:

       22           Q.      … Dr. Stein, if you compare the length of each backward curved
                            blades, would you agree that the length of the backward curved blades
       23
                            is longer than that of CoolIT’s blades?
       24
                    THE WITNESS: They start at pretty much the same point. They end at pretty
       25                much the same point. One goes a straight line. The other one curves.
                         Of course, if you go a curved line from point A to B -- and we’re not
       26                talking about Einsteinian geometries -- then, yes, the curved line will
       27                be slightly longer than the straight one. It’s a triviality. However, if
                         you make them the same length, they wouldn’t reach the
       28                circumference; and, you would have a big clearance. And this will,
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        1                   of course, have a very, very different effect on the results. You need
                            to have the same clearance.
        2

        3    (Ex. 16 (1/11/2021 Stein Depo. Tr.), at 109:8-110:4) (emphasis added; objection omitted); see also

        4    (Ex. 3 (12/8/2021 Abraham Non-Infringement Rep.), at ¶ 147 (showing the allegedly equivalent

        5    “[b]ackward” curved blades (reproduced below right in blue) are longer in length than the purported

        6                                                                              CoolIT     blades    (reproduced

        7                                                                              below left)).) Asetek’s expert

        8                                                                              admitted curved and straight

        9                                                                              blades would inevitably drive

       10                                                                              the liquid in different ways:

       11                                                                              either the liquid must travel a

       12                                                                              longer distance if driven by

       13                                                                              curved blades than if driven by

       14    straight blades, or there will be a “big clearance” that will “of course, have a very, very different effect

       15    on the results.” (Ex. 16 (1/11/2021 Stein Depo. Tr.), at 109:8-110:4.) (emphasis added). Either way,

       16    curved blades and straight blades drive the liquid differently, either in “distance” or in “clearance.”

       17    Asetek has not provided, nor can it provide, any evidence to the contrary, for this is “as common sense

       18    as it can be.” (Ex. 3 (12/8/2021 Abraham Non-Infringement Rep.), at ¶ 104.) Thus, Asetek’s doctrine-

       19    of-equivalents argument fails for lack of evidence to satisfy the “way” test in the function-way-result

       20    analysis, warranting summary judgment. See Novartis, 271 F.3d at 1046.

       21                           c.      Asetek provides no evidence to show CoolIT’s straight blades
                                            produce substantially the same “result” as do the curved blades.
       22

       23           Asetek’s argument also fails the “result” test in the function-way-result analysis under the

       24    doctrine of equivalents. This is because the results Asetek’s experts relied upon to purportedly show

       25    the equivalency of CoolIT’s blades admittedly were not based on CoolIT’s products. According to

       26    Dr. Stein, “[w]e do not claim to simulate CoolIT’s device.” (Ex. 16 (1/11/2022 Stein Depo. Tr.), at

       27    120:8-9) (emphasis added)). Indeed, Dr. Stein’s report admits the simulated “CoolIT device” (below

       28    left) is different from the accused CoolIT device (below right). (Compare Ex. 15 (11/3/2021 Stein
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        1    Rep.), at ¶ 14 (device on left,

        2    admittedly simulated by Dr. Stein

        3    to generate the alleged doctrine of

        4    equivalents results) with id., at ¶

        5    12 (device on right, understood by

        6    Dr. Stein as partially representing

        7    the geometries of the accused
                                                               Device admittedly           Accused CoolIT device
        8    CoolIT products).)                              simulated by Asetek’s         according to Asetek’s
                                                                     expert                       expert
        9           Further,    the   impellers

       10    simulated by Dr. Stein (below left) and analyzed by Dr. Tuckerman (below middle) are

       11    demonstratively and indisputably different from the actual CoolIT impeller (below right). (Compare

       12    Ex. 15 (11/3/2021 Stein Rep.), at ¶ 13 (below left, impeller simulated by Dr. Stein) and Ex. 7

       13    (11/3/2021 Tuckerman Infringement Rep.), at ¶ 291 (below middle, impeller analyzed by Dr.

       14    Tuckerman) with Ex. 7 (11/3/2021 Tuckerman Infringement Rep.), at ¶ 310 (below right, annotated

       15    photo of actual CoolIT impeller).) As shown, at a minimum, the actual CoolIT impeller (below right)

       16    has an opening (annotated in red) alongside each of the seven blades, through which the liquid can

       17    pass, while the purported “CoolIT” impellers simulated by Dr. Stein (below left) and analyzed by Dr.

       18    Tuckerman (below middle) have no opening alongside any of its blades.

       19

       20

       21

       22

       23

       24

       25       Impeller simulated by Dr.            Impeller analyzed by Dr.           Actual CoolIT Impeller
                 Stein (Asetek’s expert)           Tuckerman (Asetek’s expert)          (red annotation added)
       26

       27           Therefore, Asetek cannot show that the CoolIT products achieve substantially the same result

       28    because Asetek has zero evidence of how the actual CoolIT products perform. To the contrary, the
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        1    only available evidence in the record, provides comparisons between the performances of actual

        2    curved blades and actual straight blades in CoolIT’s devices cited in CoolIT’s expert report, which

        3    demonstrates pronounced differences in their “results,” supporting non-equivalency.             (Ex. 3

        4    (12/8/2021 Abraham Non-Infringement Rep.), at ¶¶149-150.)

        5            For example, in a comparison between the actual curved and straight blades, “[t]he curved

        6    blades produced higher pressure [i.e., “P”] under the same flow rates [i.e., “Q”].” (Id. at ¶149.)

        7    Further, “the straight impeller tends to consume significantly more power, especially when the flow

        8    rate is high. (Id.)

        9            In sum, the fictitious impeller Dr. Stein simulated, which is admittedly different from the

       10    accused device, tells the Court nothing about how CoolIT’s actual impeller works. The actual CoolIT

       11    products were undisputedly never simulated nor otherwise tested by Asetek. Asetek has not provided,

       12    nor can it provide, any evidentiary “result” of the accused CoolIT impeller with straight blades that is

       13    “substantially the same” as that of any impeller with curved blades. Thus, Asetek’s doctrine of

       14    equivalents argument fails for lack of evidence to satisfy the “result” in the function-way-result

       15    analysis, further warranting summary judgment. See Novartis, 271 F.3d at 1050 (affirming district

       16    court summary judgment order where the plaintiff’s expert had performed a computer simulation and

       17    where “[the plaintiff’s] failure to connect the computer model to [the defendant’s] commercial

       18    process entitled [the defendant] to summary judgment”) (emphasis added); see also J & M Corp. v.

       19    Harely-Davidson, Inc., 269, F.3d 1360, 1365-66, (Fed. Cir. 2001) (affirming summary judgment of

       20    no infringement under the doctrine of equivalents where court had determined that evidence for

       21    infringement by equivalents “was either inadmissible or defective”).

       22                           d.      Asetek provides no evidence to show CoolIT’s blades and curved
                                            blades are insubstantially different
       23

       24            For the same reason above – i.e., the curved blades and the straight blades drive the liquid

       25    differently, either in “distance” or in “clearance,” and Dr. Stein never simulated the actually accused

       26    CoolIT products or impeller with straight blades – Asetek has not provided, nor can it provide, any

       27    evidence to show CoolIT’s blades are insubstantially different from curved blades. Thus, Asetek’s

       28    doctrine of equivalents infringement theory also fails the “insubstantial difference” test.
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        1                            e.      Asetek also violates the ensnarement doctrine

        2            A separate and independent ground for granting summary judgment is Asetek’s ensnarement

        3    of prior art. See Jang v. Boston Sci. Corp., 872 F.3d 1275, 1288 (Fed. Cir. 2017) (“ensnarement is a

        4    legal question for the district court to decide”).

        5            During its prior trial against CMI USA, Asetek distinguished its purported invention from the

        6    Ryu prior art reference based on the limitation of “an impeller having curved blades”:

        7            Q.      You have also said that the Ryu does not teach an impeller having curved
                             blades. Do you mind explaining to the jury?
        8
                     A.      Yeah. So here’s the impeller in Ryu. And again, it – Ryu is an invention that
        9
                             has a very specific unique pumping element. It’s got this -- this impeller here,
       10                    which has these straight trapezoidal blades. …

       11    (Ex. 17 (Asetek v. CMI, N.D. Cal. No. 4:13-cv-00457-JST, 2014 Trial Tr.),

       12    at 1509:16-24.) Ryu’s straight blades are shown on the right. Further, the

       13    court in the CMI USA case confirmed in its Finding of Fact and Conclusions

       14    of Law that “Ryu discloses straight-edged blades” whereas the limitation

       15    requires an impeller having curved blades. (Ex. 18 (Asetek v. CMI, N.D.

       16    Cal. No. 4:13-cv-00457-JST, ECF 249, 4/21/2015, Findings of Fact and

       17    Conclusions of Law) at 20, 23.) Having distinguished prior art based on the shape of straight blades

       18    v. curved blades, Asetek should not now be allowed to argue that an impeller having straight blades is

       19    equivalent to “an impeller having curved blades.”

       20                    2.      Additionally, Summary judgment is warranted because Tamriel does not
                                     infringe the “reservoir” limitation of the ’362 patent as a matter of law7
       21
                                     a.      Collateral estoppel precludes Asetek from accusing Tamriel of
       22                                    infringing the “single receptacle” limitation in “reservoir”
       23            The absence of curved blades is enough to support summary judgment of noninfringement.

       24    CoolIT’s Tamriel product also does not infringe for the independent reason that its “reservoir” is not

       25    a “single receptacle.” Asetek is collaterally estopped from including a second receptacle when

       26
             7
               Tamriel also has straight blades, but its non-infringement of the “reservoir” limitation provides an
       27    additional ground for summary judgment, which applies to all of the claims in all of Asetek’s patents,
             including the ones stayed. Thus, a resolution of the “reservoir” issue will eliminate the possible need
       28    for any and all future litigation on Tamriel.
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        1    accusing Tamriel of infringing the limitation of “a reservoir,” because that claim term can only include

        2    a “single receptacle.” Asetek litigated and won a judgment that the claimed “reservoir” includes no

        3    second receptacle, and is estopped from trying to change that now. Ohio Willow Wood Co. v. Alps S.,

        4    LLC, 735 F.3d 1333, 1342 (Fed. Cir. 2013). In upholding the validity of the ’362 patent, Asetek

        5    obtained a jury verdict distinguishing the ’362 patent from prior art on this exact limitation:

        6           [T]he claimed “reservoir” in Asetek’s invention is a single receptacle that is divided
                    into an upper chamber and a lower chamber, with the upper chamber providing the
        7           pumping function and the lower chamber providing the thermal exchange function.
        8    (Ex. 18 (Asetek v. CMI, N.D. Cal. No. 4:13-cv-00457-JST, ECF 249, 4/21/2015 Findings of Fact and

        9    Conclusions of Law) at 5 of 29 (emphasis added).) At trial, Asetek’s expert identified a key

       10    characteristic that, he believed, indicated the presence of separable receptacles respectively containing

       11    the claimed upper and lower chambers that would fall outside the scope of the claims. He explained

       12    that practicing the ’362 patent requires the two chambers to be incapable of being physically separated,

       13    as they could not function as independent chambers:

       14           Q. The – in Asetek’s patented design, the two chambers – the pump chamber
                    and the thermal-exchange chamber – cannot be physically separated. Right?
       15
                    A. That’s correct. If you tried to take the upper chamber away from the lower
       16           chamber, you’d have two nonfunctional devices, or one functional and one
                    nonfunctional device.
       17
                    Q. And the only part of the reservoir in Asetek’s patented design that can be
       18           separated is just the heat-exchange interface?
       19           A. The heat-exchanging interface. That’s correct.
       20    (Ex. 17 (Asetek v. CMI, N.D. Cal. No. 4:13-cv-00457-JST, 2014 Trial Tr.) at 1508:10-19 (emphasis

       21    added).) Asetek, therefore, is bound by the requirement that the “upper chamber” and “lower

       22    chamber” in the ’362 patent must be met through the division of the same single receptacle, as opposed

       23    to inclusion of a second, physically separable receptacle.

       24           Indeed, the parties agreed that a reservoir is a single receptacle defining a fluid flow path.

       25    Asetek previously litigated and won exactly this construction in another case: “Asetek ask[ed] the

       26    [c]ourt to construe reservoir as a ‘single receptacle’ to provide clarification that the claimed reservoir

       27    is a single receptacle and to avoid any arguments that the reservoir was formed by connecting

       28    two receptacles. … It is apparent from the words of the claim that the cooling liquid passes through
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        1    the reservoir, and is not simply retained in it. Therefore, the [c]ourt adopt[ed] Asetek’s construction

        2    of reservoir as ‘single receptacle defining a fluid flow path.’” (Ex. 19 (Asia Vital Components v.

        3    Asetek, N.D. Cal. No. 4:16-cv-07160, ECF No. 105, 1/17/18 Claim Construction Order by J. Tigar),

        4    at 6-7 (emphasis added).) Asetek and CoolIT then stipulated to this construction for “reservoir,” and

        5    an accompanying construction of “chamber” as a “compartment within the reservoir,” in this case.

        6    (ECF No. 67 (11/08/19 Joint Claim Construction Statement), at 2-3 of 51; ECF No. 237 (Join Claim

        7    Construction Statement), at 3 of 35; ECF No. 258 (Claim Construction Order by J. Chen), at 5 of 16.)

        8           This was likewise the claim construction position Asetek took at the 2014 trial against CMI

        9    USA. According to Asetek’s counsel, Asetek’s “real invention” has “what’s called a ‘reservoir’ [that

       10    is] subdivided into two chambers, kind of like your heart is divided into different chambers,” which

       11    he also referred to as “the heart of the invention in both patents.” (Ex. 17 (Asetek v. CMI, N.D. Cal.

       12    No. 4:13-cv-00457-JST, 2014 Trial Tr.), at 31:10-17, 226:8-11, 228:6-12, 231:5-10 (emphasis

       13    added).) Asetek’s technical expert, Dr. Tilton, echoed this requirement on direct examination:

       14           Q.      And is it your understanding that the Court’s claim-construction Order
                            stated that the claim term “reservoir” (singular), and not “reservoirs”
       15                   (plural), indicates that a reservoir is only one receptacle, and not many?
       16           A.      Yes. That’s my understanding. I thought that was very clear from the
                            claim-construction Order.
       17

       18    (Id. at 609:25-611:4.) Asetek advanced this construction in order to avoid the “Ryu” prior art (Ex. 20

       19    (Korean Utility Model No. XX-XXXXXXX), reproduced and annotated below), in which the pump

       20    chamber and the thermal exchange
                                                                   Pump Driver 30
       21    chamber     were     two    separate

       22    receptacles connected together. As

       23    shown, Ryu has an upper/pump
                                                                                                          Two
       24    chamber     within   one    separate                                                      separable
                                                              Water Jacket 20                         receptacles
       25    receptacle (Ryu calls it “Pump

       26    Driver 30,” shown in blue) an a

       27    lower/thermal exchange chamber

       28    within a second distinct receptacle (Ryu calls it “Water Jacket 20,” shown in pink). (Ex. 17 (Asetek v.
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        1    CMI, N.D. Cal. No. 4:13-cv-00457-JST, 2014 Trial Tr.), at 609:25-611:4.)

        2           Although the cooling system in Ryu allows water to pass between the upper/pump chamber

        3    and the lower/thermal exchange chamber in the assembled product, each chamber nevertheless is a

        4    compartment contained within a separable receptacle. Asetek’s expert explained how, in his view, the

        5    separable receptacles in Ryu were different from the single receptacle in the patents-in-suit:

        6           Q.      The pump driver 30 and the water jacket 20 in Ryu – those are two
                            separate receptacles connected together. Correct?
        7
                    A.      That’s correct.
        8
                    Q.      And the two separate receptacles connected together – no matter what type
        9                   of connection it is -- fastening, lamination -- they do not become a single
                            receptacle. Correct?
       10
                    A.      I don’t believe that that’s what’s taught in Ryu.
       11

       12    (Id. at 1444:13-25 (emphasis added).) He later repeated the point (id. at 1507:2-9 (emphasis added)):

       13           Q.      And two receptacles coupled together does not become a single
                            reservoir, as defined in the claims of the Asetek patents. Correct?
       14
                    A.      That’s my opinion. I don’t believe it does.
       15
                    Q.      And is that because -- I mean, the Court construed the term “reservoir”
       16                   to be a single receptacle and/or a single reservoir that has two chambers
                            inside it. Right?
       17
                    A.      That’s correct.
       18

       19           The jury credited this testimony and rejected the invalidity arguments. The verdict form

       20    (notably, originally proposed by Asetek) asked the jury “[w]hat difference, if any, existed between the

       21    claimed invention and the prior art at the time of the claimed invention.” (Ex. 21 (Asetek v. CMI, N.D.

       22    Cal. No. 4:13-cv-00457-JST, ECF 219, Jury Verdict) at 4:1-14.) The jury responded that “the claimed

       23    ‘reservoir’ in Asetek’s invention is a single receptacle that is divided into an upper chamber and

       24    lower chamber with the upper chamber providing the pumping function and the lower chamber

       25    providing the thermal exchange function.” (Id., at 4:5-8 (emphasis added); compare id., at 4:1-8 with

       26    Ex. 22 (Asetek v. CMI, N.D. Cal Case No. 4:13-cv-00457-JST, ECF No. 204, Asetek’s Revised

       27    Proposed Verdict Form), at 3:26-4:7.) The Federal Circuit specifically cited these findings in

       28    affirming the jury’s finding of patent validity. Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352,
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        1    1357-58 (Fed. Cir. 2017) (“the jury found that the claimed liquid-cooling systems differ from the prior

        2    art because… the ‘reservoir’ is a ‘single receptacle that is divided into an upper chamber and a lower

        3    chamber’”) (emphasis added).

        4           As is clear from the prior cases, the ’362 patent claims an upper chamber and a lower chamber

        5    by dividing the “single receptacle” as opposed to connecting one detachable receptacle containing the

        6    upper chamber and another detachable receptacle containing the lower chamber. Asetek is collaterally

        7    estopped from capturing the later scope given the judgment it won to sustain the patent’s validity.

        8    Aspex Eyewear, Inc. v. Zenni Optical LLC, 713 F.3d 1377, 1380 (Fed. Cir. 2013) (collateral estoppel

        9    “precludes a plaintiff from relitigating identical issues by merely switching adversaries”) (cleaned up).

       10    Here, all four elements of collateral estoppel are met: (1) the issue of whether the claimed upper

       11    chamber and lower chamber should be divided compartments contained within the reservoir’s “single

       12    receptacle” is identical, (2) the issue was actually litigated at the 2014 CMI USA trial, (3) Asetek had

       13    a full and fair opportunity to litigate it; and (4) it was necessarily determined by the jury to distinguish

       14    Ryu and thus uphold the validity of the patents, at Asetek’s urging. ECF No. 351 at 12.

       15           Because it is undisputed that Tamriel includes a second receptacle detachably connected to a

       16    first receptacle, Tamriel cannot satisfy the limitation of a “reservoir” that is “a single receptacle that

       17    is divided into an upper chamber and lower chamber with the upper chamber providing the pumping

       18    function and the lower chamber providing the thermal exchange function.” Collateral estoppel

       19    requires a finding of non-infringement.

       20                           b.      Judicial estoppel requires dismissal of Asetek’s infringement claims
                                            against Tamriel.
       21

       22           Asetek should be judicially estopped from including two separable receptacles screwed

       23    together when accusing the Tamriel products of infringing the “reservoir” limitation. Indeed, Asetek

       24    told the Court last October that “Asetek is not going to take the position that two separate receptacles

       25    screwed together can form a single receptacle.” (Ex. 23 (10/7/21 Hearing Tr.), at 29-30.)

       26           The judicial estoppel doctrine requires that (1) a party took a “clearly inconsistent” position

       27    with the one now expressed, (2) the earlier position was accepted by the court to which it was

       28    presented, and (3) the party would derive an unfair advantage or impose an unfair detriment on the
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        1    opposing party if not estopped.

        2    See New Hampshire v. Maine,

        3    532 U.S. 742, 750-51 (2001).

        4    Regarding the first element, as

        5    this Court has pointed out,

        6    “should Asetek now argue in

        7    the instant case that a reservoir

        8    encompasses               multiple

        9    receptacles like it did at the July 27, 2021 CMI USA Inc. hearing, this argument would appear to be

       10    inconsistent with its previous argument in CMI USA Inc. [trial] that a reservoir limitation requires a

       11    single receptacle.” (ECF No. 351 at 14 of 15.) By accusing the two receptacles screwed together in

       12    Tamriel (above right), Asetek is doing exactly that. This is because Tamriel products do not possess

       13    a “single receptacle” divided into two compartments within it, as required by the prior judgment Asetek

       14    won, the parties’ stipulation, and the Court-ordered construction.      Rather, Tamriel employs two

       15    receptacles screwed together and connected by way of tubing (gasket). (ECF No. 342 at 17 of 48.)

       16    That is no accident; having experienced Asetek’s litigiousness, CoolIT deliberately redesigned its

       17    products to steer even further away from Asetek’s claims.

       18           Comparing Asetek’s allegations on how CoolIT’s

       19    products contain a “removably coupled” heat exchanging

       20    interface (right, with device inverted) to how the two

       21    receptacles in Tamriel are assembled (above) further

       22    demonstrates Asetek is taking inconsistent positions. If

       23    Asetek can allege that the heat exchange interface and the

       24    lower chamber are “removably coupled,” then the two

       25    receptacles in the Tamriel products must also be

       26    “removably coupled.” Asetek’s allegation on the heat

       27    exchanging    interface     being    removably   coupled   is

       28    inconsistent with the allegation that Tamriel products
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        1    contain a “single receptacle.” Thus the first element for judicial estoppel is met.

        2           The second and third elements of judicial estoppel also are met. As this Court observed,

        3    “Asetek’s single receptacle reservoir limitation was accepted by the court in CMI USA Inc., as it was

        4    a finding made by the jury and relied upon by the Federal Circuit when affirming the decision. This

        5    satisfies the second element of judicial estoppel. As to the last element, Asetek’s new arguably

        6    contradictory definition of reservoir limitation would be unfair to Defendants, who are relying on this

        7    very distinction to further their noninfringement arguments.” (ECF No. 351 at 14 of 15.) Because all

        8    three elements are squarely met, summary judgment of non-infringement of the single-receptacle

        9    “reservoir” limitation by the Tamriel products should be granted.

       10                           c.      Asetek’s doctrine-of-equivalents theory vitiates the “single
                                            receptacle” requirement, fails the function, way, result test, and
       11                                   cannot show insubstantial difference
       12           Asetek’s assertion that “reservoir” is satisfied under the doctrine of equivalents should be

       13    precluded and summary judgment should be granted. Its hypothetical construction of “reservoir” as

       14    “reservoir formed by one or more housings” or “single receptacle formed by one or more housings”

       15    vitiates the “single receptacle” limitation and is thus impermissible. See, e.g., Athletic Alts., 73 F.3d

       16    1582-83 (“the doctrine of equivalents is not a license to ignore or erase structure and functional

       17    limitations of the claim, limitations on which the public is entitled to rely in avoiding infringement”);

       18    Choons Design Inc. v. Tristar Prods., Inc., No. 14-10848, 2020 WL 1362844, at *5 (E.D. Mich. Mar.

       19    23, 2020) (granting summary judgment of non-infringement under the doctrine of equivalents where

       20    “the clear and natural language of the claim requires a single opening … [whereas the] accused

       21    [product] includes two separate openings … applying the doctrine of equivalents would entirely vitiate

       22    the ‘an opening’/’single opening claim element . . . .”) (emphasis added). This is because the

       23    “housings” in Asetek’s hypothetical claims are no different from “receptacles” even according to

       24    Asetek’s own expert. Dr. Tuckerman alleges that “[t]he reservoir of the Tamriel I, formed by the two

       25    mated and interconnected subcomponents/housings, also operates in substantially the same way and

       26    generates substantially the same result as a reservoir formed by a single housing.” (Ex. 7 (11/3/2021

       27    Tuckerman Infringement Rep.), at ¶ 138 (emphasis added).) That is, Dr. Tuckerman deems the “single

       28
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        1    receptacle” of the “reservoir” as the “single housing.”8 (Id.) It follows that Asetek’s hypothetical

        2    “reservoir” that includes more than a “single” receptacle or housing violates the all-limitations rule.

        3           It should also be noted that the way of dividing the “reservoir” into the upper and lower

        4    chambers within only one single receptacle, is, by definition, different from connecting two separable

        5    receptacles by gasket-tubing. This is because the fluid coupling between the upper and lower

        6    chambers both contained within the single receptacle does not go through any connection exposed to

        7    the outside of the closed loop with risks of leakage. In contrast, Tamriel’s two chambers respectively

        8    contained in two separable receptacles are fluidly coupled through exposed connections that may leak

        9    liquid to the outside of the loop and thus requires, additionally, gasket-tubing to seal the connections,

       10    just like Ryu. (See Ex. 8 (12/8/2021 Tuckerman Rep.), at ¶ 101.) (“Ryu acknowledges that there may

       11    be leakage between pump driver 30 and water jacket 30, and suggests that a waterproof gasket may

       12    be used around the connecting portion between pump driving unit 30 and water jacket 20 to prevent

       13    suck leakage.”).) Such additional leakage-prevention mechanism is not required if the two chambers

       14    are divided from within the one and only “single receptacle.” (See Ex. 3 (12/8/2021 Abraham Rep.),

       15    at ¶ 259) (“[T]he two separable chambers need to be connected via tubing (gasket), which creates at

       16    least two connections that have leaking risks: the connection between the upper/pump chamber and

       17    the tubing (gasket), and the connection between the tubing (gasket) and the lower/thermal exchange

       18    chamber. These are the connections that Asetek has repeatedly touted that its purported invention with

       19    a single-receptacle ‘reservoir’ would eliminate and would thus increase reliability over prior art.”)

       20    The result is also different for the same reason: the single receptacle has no risk of leakage between

       21    the two chambers, while Tamriel has such leakage risks due to the possible failure of the additional

       22    gasket-tubing connections. That is, Asetek’s infringement theory under the doctrine of equivalents

       23    fails both the “way” and the “result” tests under the function-way-result analysis, and similarly cannot

       24    show insubstantial difference.

       25

       26

       27
             8
               Indeed, Asetek’s own patents use “reservoir” and “reservoir housing” interchangeably. (Compare,
       28    e.g., ’362 patent at 8:43-44 (reciting “reservoir housing 14”) with 9:58 (reciting “reservoir 14”).
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        1           B.      Summary judgment of validity over Antarctica under CoolIT’s claims is
                            warranted because Asetek presents no evidence that an Antarctica product on sale
        2                   prior to August 9, 2007 had “microchannels”

        3           Summary judgment should be granted on Asetek’s Antarctica-based prior art invalidity

        4    theories because Asetek presents no evidence that its sample (1) has the claimed “microchannels” or

        5    (2) that such a product was on-sale before the August 9, 2007 priority date for the CoolIT patents.

        6    CoolIT’s uncontested evidence shows the Antarctica sample’s channel widths exceed a millimeter.

        7                   1.      Asetek provides no evidence that the Antarctica sample’s heat spreader
                                    plate has “microchannels”
        8

        9           During his June 25, 2021 inspection of the Antarctica sample, CoolIT’s expert used electronic

       10    vernier calipers to determine the channel widths ranged from 1.18 mm to 1.25 mm between fins—all

       11    exceeding the 1.0 mm required for “microchannels.” (See Ex. 11 (12/8/2021 Pokharna Rebuttal

       12    Rep.), at ¶ 74.) Dr. Pokharna recorded his measurements in videos and photographs that he included

       13    in his rebuttal report and CoolIT produced to Asetek during fact discovery. Dr. Tuckerman’s invalidity

       14    report did not contest this evidence.

       15           Rather, Dr. Tuckerman asserts in his report the Antarctica sample includes “microchannels”

       16    by citing to Mr. Eriksen’s uncorroborated deposition testimony. (Ex. 9 (11/3/2021 Tuckerman

       17    Invalidity Rep.), at ¶57.) He admitted his report lacks evidence showing he measured the width of the

       18    heat spreader plate channels, let alone his methodology for doing so. (Ex. 24 (12/20/2021 Tuckerman

       19    Depo. Tr.), at 138:17-20.) That is because Dr. Tuckerman never recorded any measurements. (Id. at

       20    138:14-16; Ex. 13 (3/18/2022 Tuckerman Depo. Tr.), at 14:23-15:3.) He claims he did not need to

       21    because his “readings were close enough” when combined with Mr. Eriksen’s testimony. (Ex. 24

       22    (12/20/2021 Tuckerman Depo. Tr.), 138:17-22. Further, Dr. Tuckerman never talked to Mr. Eriksen

       23    or anyone at Asetek in preparing his report. (Id. at 141:2-4; Ex. 25 (12/22/2021 Tuckerman Depo.

       24    Tr.), at 13:1-3.) He just relied on speculative hearsay, acknowledging that Mr. Eriksen stated that his

       25    testimony was a “best guess.” (Ex. 24 (12/20/2021 Tuckerman Depo. Tr.), 140:24-141:14; see also

       26    Ex. 10 (8/24/2021 Eriksen Depo. Tr.), 117:17-25 (admitting that he did not recall the Antarctica

       27    channel widths).) Dr. Tuckerman’s uncorroborated “word” is insufficient to carry Asetek’s burden

       28    under Celotex. See Schumer v. Lab. Comp. Sys., Inc., 308 F.3d 1304, 1316 (Fed. Cir. 2002) (noting
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        1    that “testimony is insufficient if it is merely conclusory”); Novartis, 271 F.3d at 1050-51 (noting that

        2    an expert must set forth an “explicit factual foundation” for his opinions); see also TechSearch, L.L.C.

        3    v. Intel Corp., 286 F.3d 1360, 1371 (Fed. Cir. 2002) (“A party may not overcome a grant of summary

        4    judgment by merely offering conclusory statements”); accord Invitrogen Corp. v. Clontech Labs., Inc.,

        5    429 F.3d 1052, 1080 (Fed. Cir. 2005); Theis v. Graco, Inc., 763 F. App’x 641, 641-42 (9th Cir. 2019).

        6    Summary judgment of validity is warranted with respect to the Antarctica-based invalidity theories.

        7           Asetek belatedly attempted to add a picture of the first page of an alleged “machining

        8    document” written in Danish into the record (Exhibit 275) for the first time at Dr. Tuckerman's

        9    deposition to show Antarctica allegedly has “microchannels.”9 But this document is not competent

       10    evidence to support the assertions Dr. Tuckerman made in his report. Dr. Tuckerman never identified

       11    this document in his report, and he admitted that he does not rely on it for his opinions. (Ex. 13

       12    (3/18/2022 Tuckerman Depo Tr.), at 29:16-30:13,.) Ex. 26 (Materials Considered)). This makes sense,

       13    as Asetek’s counsel only provided him with a JPEG of the image shown in Exhibit 275 after he

       14    submitted his report. (Id., at 17:7-21, 20:25-22:7.) In fact, Dr. Tuckerman necessarily relied solely

       15    on counsel’s representations that the tool shown in Exhibit 275 was used to machine grooves in

       16    Antarctica’s heat spreader plate because (1) he did not speak to anyone at Asetek to confirm what the

       17    materials depicted were and (2) he is unable to independently verify what the “machining document”

       18    says—he was not provided the document, he does not speak or read Danish, and he never had the

       19    document translated. (Ex. 25 (12/22/2021 Tuckerman Depo. Tr.), at 13:1-13, Ex. 13 (3/18/2022

       20    Tuckerman Depo Tr.), at 18:22-19:2, 22:4-16, 24:20-25:6.) There is no way Dr. Tuckerman can

       21    contextualize this image without assuming representations from Asetek’s counsel as true, making Dr.

       22    Tuckerman’s opinion pure attorney argument.

       23                   2.      Asetek presents no evidence demonstrating the Antarctica physical sample
                                    is representative of the Antarctica product on sale before August 9, 2007
       24

       25           Asetek also offers no evidence qualifying its physical sample as prior art. The parties never

       26
             9
               Exhibit 275 appears to show calipers clasping a blade with a “0.93 mm” reading, above an internal
       27    Asetek document written in Danish. None of these materials were produced during fact or expert
             discovery. Asetek’s counsel introduced the photograph for the first time during redirect. This exhibit
       28    is the subject of one of CoolIT’s motions to strike.
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        1    stipulated that the physical sample represented an Antarctica device on sale before August 9, 2007.

        2    Asetek did not produce evidence showing when the sample was manufactured, what version of

        3    Antarctica the sample is, whether that version was sold in 2004, or whether the version had even been

        4    approved for sale. Asetek’s priority evidence appears limited to a single spreadsheet of sales data that

        5    lists multiple versions of Antarctica the sales are linked to, but without clear indicia linking those

        6    versions to the specific model for the physical sample it relies on. (See generally Ex. 12.)

        7              Dr. Tuckerman could not confirm that the sample he inspected and relied on in his report was

        8    a version that was sold prior to August 9, 2007. (Ex. 24 (12/20/2021 Tuckerman Depo. Tr.), at 128:15-

        9    22.) While he testified that he was unaware of multiple generations of Antarctica, id. 129:20-22, he

       10    also admitted the Antarctica shown in the user manuals10 he relied on in his report differed in at least

       11    one material respect with the physical sample he inspected. (Id., at 134:5-18.) Without prompting,

       12    Dr. Tuckerman cast doubt on whether the Antarctica sample he relied on was the same model that was

       13    on sale in 2004:

       14              A. And I’ll also mention I don’t know that the device I got is representative. I
                       mean, you know, there is manufacturing variations. So, you know, this is one
       15              sample. Why did they have the sample; maybe it was a reject they happened
       16              to have lying around out of spec. I just don’t know. You know, I only know
                       what I measured.
       17

       18              Q. Right. There is no way for you to say with certainty that the channel widths of
                       the Antarctica device that was on sale prior to August 9, 2007 was 1 millimeter or
       19              less; correct?
       20              A. [Objections omitted] Yeah. I would have no way of knowing that. I was
                       given a device that I understood to be representative, and you know, I measured it.
       21

       22    (Id., at 141:16-142:8; see also Ex. 13 (3/18/2022 Tuckerman Depo. Tr.), at 25:4-6.) Asetek has not

       23    shown the specific model represented by the Antarctica sample was sold before August 9, 2007,

       24    providing yet another ground for granting summary judgment on validity over Antarctica.

       25    V.        CONCLUSION

       26              For the foregoing reasons, summary judgment of non-infringement of the ’362 patent, and

       27    validity of the ’330, ’284, and ’266 patents over Antarctica, should be granted.

       28    10
                  Dr. Tuckerman was unaware if multiple versions of the user manuals exist. (Id., 127:14-21.)
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        1    Dated:    March 31, 2022           /s/ Reuben H. Chen

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COOLEY LLP                                                              CASE NO. 3-19-CV-00410-EMC
                                                 26.        DEFENDANTS’ NOTICE OF MOTION AND MOTION
                                                                              FOR SUMMARY JUDGMENT
